  Case 21-30589-MBK Doc 1540 Filed 02/19/22 Entered 02/20/22 00:15:24                                Desc
                     ImagedCOURT
UNITED STATES BANKRUPTCY    Certificate of Notice Page 1 of 5
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)




                                                                         Order Filed on February 15, 2022
                                                                         by Clerk
                                                                         U.S. Bankruptcy Court
                                                                         District of New Jersey



In Re:                                                   Case No.:        ____________________
                                                                                21-30589
 LTL Management LLC
                                                         Judge:          _____________________
                                                                            Michael B. Kaplan

                                                         Chapter:         _____________________
                                                                                    11




                Recommended Local Form:            w
                                                   ✔    Followed         w     Modified




                                 ORDER FOR ADMISSION PRO HAC VICE


         The relief set forth on the following page is hereby ORDERED.




DATED: February 15, 2022
Case 21-30589-MBK         Doc 1540 Filed 02/19/22 Entered 02/20/22 00:15:24                 Desc
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b) BAILEY GLASSER LLP
                                                     Brian A. Glasser (admitted pro hac vice)
   COOLEY LLP                                        Thomas B. Bennett (admitted pro hac vice)
   Cullen D. Speckhart (admitted pro hac vice)       Kevin W. Barrett (admitted pro hac vice)
   Michael Klein (admitted pro hac vice)             Maggie Burrus (admitted pro hac Vice
   Erica J. Richards (pro hac vice to be filed)      Cary Joshi
   Lauren A. Reichardt (pro hac vice to be filed)    105 Thomas Jefferson St. NW, Suite 540
   Evan M. Lazerowitz                                Washington, DC 20007
   55 Hudson Yards                                   Tel: (202) 463-2101
   New York, NY 10001                                Fax: (202) 463-2103
   Tel: (212) 479-6000                               Email: bglasser@baileyglasser.com
   Fax: (212) 479-6275                                              tbennett@baileyglasser.com
   Email: cspeckhart@cooley.com                                     kbarrett@baileyglasser.com
           mklein@cooley.com                                        mburrus@baieyglasser.com
          erichards@cooley.com                                      cjoshi@baileyglasser.com
          lreichardt@cooley.com
          elazerowitz@cooley.com
                                                     Proposed Co-Counsel to the
                                                     Official Committee of Talc Claimants II
   Proposed Co-Counsel to the
   Official Committee of Talc Claimants II
   WALDREP WALL BABCOCK & BAILEY                    MASSEY & GAIL LLP
   PLLC                                             Jonathan S. Massey (admitted pro hac vice)
   Thomas W. Waldrep, Jr. (admitted pro hac vice)   1000 Maine Ave. SW, Suite 450
   370 Knollwood Street, Suite 600                  Washington, DC 20024
   Winston-Salem, NC 27103                          Tel: (202) 652-4511
   Tel: (336) 717-1280                              Fax: (312) 379-0467
   Fax: (336) 717-1340                              Email: jmassey@masseygail.com
   Email: notice@waldrepwall.com
                                                    Proposed Co-Counsel to the
   Proposed Co-Counsel to the Official Committee of Official Committee of Talc Claimants II
   Talc Claimants II
   SHERMAN, SILVERSTEIN,
   KOHL, ROSE & PODOLSKY, P.A.
   Arthur J. Abramowitz
   Alan I. Moldoff
   Ross J. Switkes
   308 Harper Drive, Suite 200
   Moorestown, NJ 08057
   Tel: (856) 662-0700
   Email: aabramowitz@shermansilverstein.com
           amoldoff@shermansilverstein.com
           rswitkes@shermansilverstein.com

   Proposed Local Counsel to
   the Official Committee of Talc Claimants II
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   In re:                                                 Chapter 11

   LTL MANAGEMENT LLC,                                    Case No.: 21-30589 (MBK)

                            Debtor.                       Honorable Michael B. Kaplan



                               ORDER FOR ADMISSION PRO HAC VICE

            The relief set forth on the following page is ORDERED.




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           This matter having been brought before the Court on application for an Order For Admission Pro
  Hac Vice; and the Court having reviewed the moving papers of the applicant, out-of-state attorney, and
  considered this matter pursuant to Fed. R. Civ. Proc. 78, D.N.J. L. Civ. R. 101.1 and D.N.J. LBR 9010-1,
  and good cause having been shown; it is

           ORDERED that Lauren A. Reichardt be permitted to appear pro hac vice; provided that pursuant
  to D.N.J. L. Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed promptly by a member
  of the bar of this Court upon whom all notices, orders and pleadings may be served, and who shall promptly
  notify the out-of-state attorney of their receipt. Only an attorney at law of this Court may file papers, enter
  appearances for parties, sign stipulations, or sign and receive payments on judgments, decrees or orders,
  and it is further

           ORDERED that the applicant shall arrange with the New Jersey Lawyers’ Fund for Client
  Protection for payment of the annual fee, for this year and for any year in which the out of-state attorney
  continues to represent a client in a matter pending in this Court in accordance with New Jersey Court Rule
  1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20) days of the date of the entry
  of this Order, and it is further

           ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice admission
  to the District Court for the District of New Jersey shall also be payable within twenty (20) days of entry
  of this Order. Payment in the form of a check must be payable to “Clerk, USDC” and forwarded to the
  Clerk of the United States District Court for the District of New Jersey at the following address:

                                           United States District Court
                                             District of New Jersey
                                     Martin Luther King, Jr. Federal Building
                                                50 Walnut Street
                                              Newark, N.J. 07102
                                      Attention: Pro Hac Vice Admissions

           and it is further ORDERED that the applicant shall be bound by the Local Rules of the United
  States District Court for the District of New Jersey and the Local Rules of Bankruptcy Procedure for the
  District of New Jersey; and it is further

           ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
  Lawyers’ Fund for Client Protection within 5 days of its date of entry.




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           Case 21-30589-MBK                     Doc 1540 Filed 02/19/22 Entered 02/20/22 00:15:24                                                Desc
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 21-30589-MBK
LTL Management LLC                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Feb 17, 2022                                               Form ID: pdf903                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 19, 2022:
Recip ID                   Recipient Name and Address
db                     +   LTL Management LLC, 501 George Street, New Brunswick, NJ 08933-0001
aty                    +   Glenn M. Kurtz, White & Case LLP, 1221 Avenue of the America, New York, NY 10020-1001
aty                    +   Jessica Lauria, White & Case LLP, 1221 Avenue of the America, New York,, NY 10020-1001
aty                    +   Rayburn, Cooper & Durham, P.A., The Carillon, Suite 1200, 227 West Trade St., Charlotte, NC 28202-1672

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 19, 2022                                            Signature:           /s/Joseph Speetjens
